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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 Telnyx LLC,
                                                       No. 1:25-cv-01689
                          Plaintiff,

            v.
                                                       JURY TRIAL DEMANDED
 John Does 1-2,

                          Defendants.




                                          COMPLAINT

       Plaintiff Telnyx LLC (“Telnyx”), by its undersigned counsel, alleges as follows, based on

knowledge as to its own acts and on information and belief as to all others:

                                        INTRODUCTION

       1.        This case concerns the wrongful use of Telnyx’s services by two individuals. On or

about February 6, 2024, John Does 1 and 2 created customer accounts with Telnyx by providing

false names and addresses. They then evidently proceeded to use Telnyx’s services to further a

robocall scheme targeting government employees. Such use of Telnyx’s services violated the

Terms and Conditions of Service (“Terms and Conditions”) agreed to by John Does 1 and 2 when

they opened their customer accounts. These breaches have caused damages to Telnyx in the form

of reputational harm and costs associated with subsequent governmental investigation and action

relating to the incident. Therefore, Telnyx is entitled to an award of damages as well as its

reasonable costs and attorneys’ fees.




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                                           PARTIES

       2.     Telnyx is an Illinois limited liability company whose sole member is Telnyx, Inc.,

a Delaware corporation with principal place of business in Austin, Texas.

       3.     John Doe 1 is an individual who identified himself as Christian Mitchell when

signing up for a customer account with Telnyx. Upon information and belief, John Doe 1 is a

foreign national. The IP address John Doe 1 employed when using his customer account was

affiliated with Edinburgh, Scotland, and his provided address was in Toronto, Canada.

       4.     John Doe 2 is an individual who identified himself as Henry Walker when signing

up for a customer account with Telnyx. Upon information and belief, John Doe 2 is a foreign

national. The IP address John Doe 2 employed when using his customer account was affiliated

with London, England and his provided address was in Toronto, Canada.

                               JURISDICTION AND VENUE

       5.     The Court has subject matter jurisdiction under 28 U.S.C. 1332 because this dispute

is between a citizen of a State and two foreign nationals, and the amount in controversy exceeds

$75,000. This Court is an appropriate venue pursuant to 28 U.S. Code § 1391(b)(3).

       6.     This Court has personal jurisdiction over John Does 1 and 2 because they

purposefully availed themselves of the laws of Illinois by knowingly agreeing to Telnyx’s Terms

and Conditions which identified Chicago, Illinois as the appropriate forum and source of law for

the resolution of any dispute under the Terms and Conditions. John Does 1 and 2 also purposefully

availed themselves of the laws of Illinois by agreeing to the Terms and Conditions at a time when

Telnyx’s offices were located in Chicago, Illinois. John Does 1 and 2 also understood their

breaches of the Terms and Conditions would cause harm to Telnyx felt in Chicago, Illinois.




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                                  FACTUAL ALLEGATIONS

        7.      Telnyx is a communications platform providing businesses a broad suite of real-

time communications services. Telnyx charges a fee for these services. Customers who wish to

open accounts with Telnyx must provide information on their identities and agree to Telnyx’s

Terms and Conditions.

        8.      On February 6, 2024, John Does 1 and 2 created customer accounts with Telnyx.

Upon information and belief, the names and addresses provided by John Does 1 and 2 when

opening their customer accounts were false.

        9.      In opening their customer accounts, John Does 1 and 2 were required to agree to

Telnyx’s Terms and Conditions, which among other things prohibited the use of Telnyx’s services

to perpetrate “violations of law” or “malicious, deceptive or fraudulent behavior.” A true and

accurate copy of the Terms and Conditions is attached as Exhibit A, and its terms are fully

incorporated by reference.

        10.     Upon information and belief, John Does 1 and 2 enacted a fraudulent robocall

scheme seeking to extort payments from its targets using false statements notwithstanding

Telnyx’s diligence in attempting to prevent such misconduct. Telnyx blocked John Does 1 and 2’s

accounts less than 24 hours after they were opened.

        11.     As a result of John Does 1 and 2’s scheme, Telnyx has incurred reputational harm

and has been subject to subsequent governmental investigation and action related to the incident.

                                     CAUSES OF ACTION

                                           COUNT I
                                       Breach of Contract

        12.     Telnyx repeats and realleges each and every allegation in the preceding paragraphs

as if fully set forth herein.


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         13.    Telnyx and John Does 1 and 2 entered into the Terms and Conditions as set forth

above.

         14.    The Terms and Conditions are a binding and enforceable contract under applicable

law.

         15.    Pursuant to the Terms and Conditions, John Does 1 and 2 agreed not to use Telnyx’s

services for illegal or fraudulent activity.

         16.    John Does 1 and 2 breached such agreement by enacting their fraudulent scheme.

         17.    John Does 1 and 2’s breach has damaged Telnyx in the form of reputational harm

and costs associated with subsequent governmental actions relating to the incident. Such harms

have caused substantial and ongoing damage to Telnyx’s business in an amount to be determined

at trial. Telnyx’s attorneys fees incurred to date resulting from the breach are well in excess of

$75,000.

                                      PRAYER FOR RELIEF

         WHEREFORE, Telnyx respectfully requests that this Court enter a judgment against John

Does 1 and 2:

         1.     For damages according to proof at trial;

         2.     For temporary, preliminary, and permanent injunctive relief;

         3.     For prejudgment interest;

         4.     For reasonable attorneys’ fees and costs;

         5.     For such other relief as the Court may deem appropriate.

                                          JURY DEMAND

         Telnyx demands a trial by jury pursuant to Federal Rule of Civil Procedure 38(b) on all

issues so triable.



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                                         By: /s/ Jonathan R. Buck

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                                              Dated: February 18, 2025




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